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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION


 UNITED STATES OF AMERICA

        v.                                                CASE NO.: :5:21-cr-9

 MARIA LETICIA PATRICIO,
 DANIEL MENDOZA,
 NERY RENE CARRILLO-NAJARRO,
 ANTONIO CHAVEZ RAMOS,
 ENRIQUE DUQUE TOVAR,
 DELIA IBARRA ROJAS,
 JUANA IBARRA CARRILLO,
 DONNA MICHELLE ROJAS,
 MARGARITA ROJAS CARDENAS,
 JUAN FRANCISCO ALVAREZ CAMPOS,
 ESTHER IBARRA GARCIA,
 BRETT DONAVAN BUSSEY,
 LINDA JEAN FACUNDO,
 GUMARA CANELA,
 CARLA YVONNE SALINAS,

                Defendant.

                  AMENDED SCHEDULING AND DISCOVERY ORDER

       This matter is before the Court on Defendants’ Oral Motions for Extension of Time to

File Pretrial Motions presented during a telephonic status conference held on June 2, 2023, and

the Court’s August 16, 2023 motions hearing. During the status conference, the Court took

Defendants’ Oral Motion into consideration, noting it may be necessary to modify the schedule

after a hearing on Defendants’ motion for identification. Before the motions hearing, the Court

extended the pretrial motions deadline until October 2, 2023. Doc. 603. However, during the

August 16, 2023 motions hearing, the parties explained they have not completed processing and

reviewing the massive amount of discovery in this case. Accordingly, the Court issues the

following deadlines, findings, and instructions.
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                                  EVENT                                           DEADLINE

Pretrial Motions by All Parties                                               December 15, 2023

Defense Expert Disclosures (Fed. R. Crim. P. 16(b)(1)(C))                     December 15, 2023

Status Report (No Motions Filed)                                              December 22, 2023

Responses to Pretrial Motions                                                   January 5, 2024

Status Report (Motions Filed)                                                   January 12, 2024


        Out-of-Time Pretrial Motions. It is unlikely the Court will grant further requests for

extensions of the pretrial motions deadline. However, the Court will consider requests to file

individual out-of-time motions for good cause. A party may demonstrate good cause by showing

an out-of-time pretrial motion could not have been filed before the pretrial motions deadline. For

example, good cause may be shown where evidence supporting such a motion was not produced

sufficiently before the motions deadline or such evidence was difficult or impossible to identify

prior to the deadline.

        Status Report. The parties shall submit the attached status report on the date set forth

above, and failure to do so may result in the Court terminating all outstanding motions as

resolved or waived.1

        Speedy Trial Findings. The Court finds, as a matter of fact and law, the time the parties

requested to review discovery, prepare and file pretrial motions, and obtain expert witness

reports is not for the purpose of delay, but in the furtherance of justice, and to protect

Defendants’ rights to a fair trial. The Court also finds the request is for the purpose of allowing

reasonable time necessary, assuming the exercise of due diligence, for counsel to effectively


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         The Status Report form can be found on the Court’s website:
https://www.gasd.uscourts.gov/criminal-forms


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prepare their case in that counsel needs additional time to review discovery, prepare and file

pretrial motions, and obtain expert witness reports. Specifically, the Court has considered the

unique facts and circumstances of this case. This case involves an extraordinarily large volume

of discovery materials—in excess of 15 terabytes of information—and many of those materials

are in Spanish. The Government’s production of discovery materials has been slow and

protracted. See, e.g., Doc. 429. This case has been pending since October 5, 2021. Doc. 1.

However, the Government did complete discovery production until February 1, 2023. Doc. 549

at 3. The Government did not provide a load file with all electronic discovery materials suitable

for processing in a discovery review platform until May 31, 2023. Doc. 601 at 2. The defense

discovery coordinator explained at the August 16, 2023 motions hearing it will take him until

mid-November, 2023 to finish processing the load file and to make a searchable database of all

discovery available to defense counsel.

       All of these circumstances show an extension is absolutely necessary for the fair

adjudication of this case. Therefore, pursuant to 18 U.S.C. § 3161(h)(7), and on the basis of the

Court’s finding that the ends of justice served by granting the extension outweigh the best

interests of the public and Defendant in a speedy trial, the Court grants an extension of time. The

period of time—October 2, 2023 through and including December 15, 2023—is excluded in

computing the time within which trial of this matter may commence.

       Pretrial Motion Instructions. A party must file a separate motion for each form of

relief sought; consolidated motions are not permitted. A responding party may file a

consolidated response to multiple motions when doing so does not create confusion or

ambiguity.




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       In multi-defendant cases, a defendant shall not file a motion that merely adopts or

incorporates by reference a motion or argument by a co-defendant. Each defendant must file a

separate motion containing a complete discussion of the evidence and arguments. The Clerk

assigns a unique number to each defendant in a multi-defendant case. For example, in case 4:23-

CR-55, the Clerk assigns the number one to the first defendant: 4:23-CR-55-001. All motions

and responses in multi-defendant cases must include the defendant-specific case number.

       The Government and defense counsel are reminded of their responsibility under Federal

Rule of Criminal Procedure 16.1 and Local Criminal Rule 16.1 to confer regarding discovery.

Considering the Government’s customary practice of providing liberal discovery, many (if not

all) routine discovery motions may be satisfied without the need for Court intervention.

       Rule 5 Instruction. In accordance with Fed. R. Crim P. 5(f)(1), the Court confirms the

prosecutor’s obligation to produce all exculpatory evidence to the defense in accordance with

Brady v. Maryland, 373 U.S. 83 (1963) and its progeny. Failure to timely perform these

obligations may result in consequences, including exclusion of evidence, adverse jury

instructions, dismissal of charges, contempt proceedings, or sanctions. Given this confirmation,

generalized motions seeking assurance of the Government’ s compliance are unnecessary.

       Proposed Voir Dire and Jury Charges. Unless otherwise instructed by the presiding

District Judge, counsel shall file all requests to charge and proposed voir dire questions at least

seven days before jury selection.

       Witness Subpoenas. Counsel representing indigent defendants must make requests for

witness subpoenas or writs for the production of prisoner witnesses at least fourteen days before

the evidentiary hearing or trial. Requests for witness subpoenas must articulate specific facts

demonstrating both the relevancy and necessity of the requested witnesses’ testimony.




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    SO ORDERED, this 15th day of September, 2023.




                              BENJAMIN W. CHEESBRO
                              UNITED STATES MAGISTRATE JUDGE
                              SOUTHERN DISTRICT OF GEORGIA




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION


 UNITED STATES OF AMERICA

          v.                                                CASE NO.: :-CR-

 ,

                 Defendant.


                                    JOINT STATUS REPORT

I.       Date of Status Report Conference:__________________
II.      Conference Attendees:

                             Name                                    Role



III.     Pretrial Motions.

☐        All pretrial motions have been satisfied or otherwise resolved.

☐        The parties have not resolved the following pretrial motions(s) and will require a ruling
         from the Court to settle the actual controversy or dispute:

                                                                                     Evidentiary
                                                                Oral Argument
       Motion Title and Docket Number             Opposed                             Hearing
                                                                  Requested
                                                                                     Requested
                                                      Y/N             Y/N               Y/N
                                                      Y/N             Y/N               Y/N
                                                      Y/N             Y/N               Y/N




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    This day, _______________.

                                 /s/
                                           Assistant United States Attorney


                                 /s/
                                           Defense Counsel




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